           Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 1 of 10



                               L'NITED STATES DISTRICT COURT
                             EASTER.l\; DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,

               Plaintiffs,
                                                                          18           4451
V.                                                      Case No.

VILLANOVA ID-iIVERSITY IN THE STATE
OF PENNSYLVANIA, A Pennsylvania
Non-Profit Corporation,

               Defendant.                                                     OCT 16 2618
                                                                           KATE IWt<MAN, Clerk
                                                                         8)           Dep. C:srk
                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, OWE~ HARTY, Individually, on his behalf and on behalf of all other individuals

similarly situated, (hereinafter referred to as "Plaintiff'), hereby sues Defendant,   VILLA~OV A


U~IVERSITY     IN THE STA TE OF PENNSYLVANIA, A Pennsylvania Non-Profit Corporation,

(hereinafter referred to as "Defendant''), for Injunctive Relief, and attorney's fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 C.S.C. § 12181 et seq.

("ADA").

1.     Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as an

       individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

       life activity of walking. Instead, Plaintiff is bound to ambulate in a wheelchair.

2.     Plaintiff is an advocate of the rights of similarly situated disabled persons and is a "tester"

       for the purpose of asserting his civil rights and monitoring, ensuring, and determining

       whether places of public accommodation and their websites are in compliance with the

       ADA.
       Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 2 of 10



3.   Defendant owns, leases, leases to, or operates a place of public accommodation as defined

     by the ADA and the regulations implementing the ADA, 28 CFR 36.20l(a) and 36. l 04. The

     place of public accommodation that Defendant owns, operates, leases or leases to is a place

     oflodging known as The Inn at Villanova Cniversity, 601 County Line Road, Radnor, PA

     19087, and is located in the County of Delaware, (hereinafter "Property").

4.   Venue is properly located in the EASTERN DISTRICT OF PENNSYLVA;-..;IA because

     venue lies in the judicial district of the property situs. Defendant's property is located in and

     does business within this judicial district.

5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from Defendant's violations of Title III of the

     Americans with Disabilities Act, 42 C.S.C. § 12181      et~·    See also 28 U.S.C. § 2201 and

     § 2202.

6.   As the owner, lessor, lessee, or operator of the subject premises, Defendant is required to

     comply with the ADA. As such, Defendant is required to ensure that its place of lodging

     is in compliance with the standards applicable to places of public accommodation, as set

     forth in the regulations promulgated by the Department Of Justice. Said regulations are set

     forth in the Code Of federal Regulations, the Americans With Disabilities Act Architectural

     Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated by reference into the

     ADA. These regulations impose requirements pertaining to places of public accommodation,

     including places of lodging, to ensure that they are accessible to disabled individuals.

7.   More specifically, 28 C.F.R. Section 36.302(e)(I) imposes the following requirement:




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      Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 3 of 10



            Reservations made by places of lodging. A public accommodation that owns,
            leases (or leases to), or operates a place of lodging shall, with respect to
            reservations made by any means, including by telephone, in-person, or through a
            third party -
                    (I) :vlodify its policies, practices, or procedures to ensure that individuals
                    with disabilities can make reservations for accessible guest rooms during
                    the same hours and in the same manner as individuals who do not need
                    accessible rooms;
                    (ii) Identify and describe accessible features in the hotels and guest rooms
                    offered through its reservations service in enough detail to reasonably
                    permit individuals with disabilities to assess independently whether a
                    given hotel or guest room meets his or her accessibility needs;
                    (iii) Ensure that accessible guest rooms are held for use by individuals
                    with disabilities until all other guest rooms of that type have been rented
                    and the accessible room requested is the only remaining room of that type;
                    (iv) Reserve, upon request, accessible guest rooms or specific types of
                    guest rooms and ensure that the guest rooms requested are blocked and
                    removed from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved through its
                    reservations service is held for the reserving customer, regardless of
                    whether a specific room is held in response to reservations made by others.

8.   These regulations became effective March 15, 2012.

9.   Defendant, either itself or by and through a third party, implemented, operates, controls

     and or maintains a website for the Property which contains an online reservations system.

     This website is located at https://theinnatvillanova.com and

     https:/ /W\\-w.hotels.com/ho 198546/?q-check-out =20 l 8-07-26&FPQ 3&q-check-in-=2018
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     oom-O-adults=l&YGF....,14&:\1GT-l&ZSX=O&SYE=3. This term also includes all

     websites owned and operated by Defendant or by third parties to book or reserve guest

     accommodations at the hotel. The purpose of this website is so that members of the

     public may reserve guest accommodations and review information pertaining to the

     goods, services, features, facilities, benefits, advantages, and accommodations of the


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        Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 4 of 10



      Property. As such, this website is subject to the requirements of 28 C.F.R. Section

      36.302(e).

10.   Prior to the commencement of this lawsuit, Plaintiff visited the website for the purpose of

      reviewing and assessing the accessible features at the Property and ascertain whether they

      meet the requirements of28 C.F.R. Section 36.302(e) and his accessibility needs.

      However, Plaintiff was unable to do so because Defendant failed to comply with the

      requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived

      the same goods, services, features, facilities, benefits, advantages, and accommodations

      of the Property available to the general public.

11.   In the near future, Plaintiff intends to revisit Defendant's website and/or online

      reservations system in order to test it for compliance with 28 C.F.R. Section 36.302(e)

      and/or to utilize the website to reserve a guest room and otherwise avail himself of the

      goods, services, features, facilities, benefits, advantages, and accommodations of the

      Property.

12.   Plaintiff is continuously aware that the subject website remains non-compliant and that it

      would be a futile gesture to revisit the website as long as those violations exist unless he

      is willing to suffer additional discrimination.

13.   The violations present at Defendant's website infringe Plaintiffs right to travel free of

      discrimination and deprive his of the information required to make meaningful choices

      for travel. Plaintiff has suffered, and continues to suffer, frustration and humiliation as

      the result of the discriminatory conditions present at Defendant's website. By continuing

      to operate a website with discriminatory conditions, Defendant contributes to Plaintiffs


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        Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 5 of 10



      sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of

      the goods, services, facilities, privileges and/or accommodations available to the general

      public. By encountering the discriminatory conditions at Defendant's website, and

      knowing that it would be a futile gesture to return to the website unless he is willing to

      endure additional discrimination, Plaintiff is deprived of the same advantages, privileges,

      goods, services and benefits readily available to the general public. By maintaining a

      website with violations, Defendant deprives Plaintiff the equality of opportunity offered

      to the general public.

14.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

      Defendant's discrimination until Defendant is compelled to modify its website to comply

      with the requirements of the ADA and to continually monitor and ensure that the subject

      website remains in compliance.

15.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

      Defendant's non-compliance with the ADA with respect to this website. Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by Defendant.

16.   Defendant has discriminated against Plaintiff by denying him access to, and full and equal

      enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the subject website.

17.   Plaintiff and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested

      herein.


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        Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 6 of 10



18.   Defendant has discriminated against Plaintiff by denying him access to full and equal

      enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, Defendant continues to

      discriminate against Plaintiff, and all those similarly situated by failing to make

      reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to afford all offered goods, services, facilities, privileges, advantages or

      accommodations to individuals with disabilities; and by failing to take such efforts that

      may be necessary to ensure that no individual with a disability is excluded, denied

      services, segregated or otherwise treated differently than other individuals because of the

      absence of auxiliary aids and services.

19.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff

      has retained the undersigned counsel and is entitled to recover attorney's fees, costs and

      litigation expenses from Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

20.   Pursuant to 42 U .S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require Defendant to alter the subject website to

      make it readily accessible and useable to Plaintiff and all other persons with disabilities as

      defined by the ADA and 28 C.F.R. Section 36.302(e); or by closing the website until such

      time as Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:




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       Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 7 of 10



      a.     The Court issue a Declaratory Judgment that determines that Defendant at the

             commencement of the subject lawsuit is in violation of Title Ill of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against Defendant including an order to revise its website to comply

             with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain

             the website to ensure that it remains in compliance with said requirement.

      c.     An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

             Respectfully Submitted,

                                            THOMAS B. BACON, P.A.




                                            By:_c}-_r-0_r-_
                                                John F. Ward, Esquire (1.D. :So. 81350)
                                                329 S. Devon Ave.
                                                Wayne, PA 19087
                                                Phone: 610-952-0219
                                                Fax: 954-237-1990
                                                johnfward@gmail.com

                                                   Thomas B. Bacon, Esquire (1.D.   ~o.   58629)
                                                   644 North McDonald St.
                                                   Mt. Dora, FL 32757
                                                   Phone 954-478-7811
                                                   Fax: 954-237-1990
                                                   tbb@thomasbaconlaw.com

September 26, 2018


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                                      Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 8 of 10

                                                                                           CIVIL COVER SHEET
    The JS 44 c1v1l cover sheet and the mformat10n contained herem neither replace nor supplement the filmg and service of pleadings or other papers as required by law. except as
    provided by local rules of court This form. approved by the Judicial Conference of the United States m September 1974, ts required for the use of the Clerk of Court for the
    purpose of m1t1atmg the c1v1; docket sheet (SU INSIRUCTTONS ON NF.XI PAGE OF THIS FORM)

    I. (a) PLAINTIFFS                                                                                                                             DEFENDANTS
    OWEN HARTY                                                                                                                                  VILLANOVA UNIVERSITY IN THE STATE OF PENNSYLVANIA


          (b)    County of Residence of First Listed Plamttff                                                                                     Couoty of Residence of First Listed Defendant
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          {C) Attorneys      fF1rm Name Address and Telee_hone ,                                                                                   Attorneys (If Known)
    John F Ward. Esquire. THOMAS                                 B      l:lACON.
    329 S Devon Ave. Wayne. PA 19087
    (610) 952-0219

    II. BASIS OF Jt;RISDI                                                                                                II I. CITIZE!'ISHIP OF PRINCIPAL PARTIES (Place a11 x                                                     zn one soxfor P1a1n11JJ
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                COMPLAI~T:                                      UNDER RCLb 23. FR Cv P                                                        0 00                                         Jl'RY DEMAND:         :::J Yes1   ·o

VIII. RELATED CASE(S)
      IF ANY
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                             Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 9 of 10
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                                                                                4 4 5 :t
                                                                             DESIGNATIONFORl\1                                          18
                                          nsel or pro se plamttjf to md1cate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: ______ -~1_9_Q_~_90~~n~~ ~~d~ ftpt._ 1Q?_!_!~~~~~~' -~~ ~~~ ~ ~-- ____ _

Address of Defendant: _ _ '{i~~~~V_9 _                    l:!~_i~er~i!i _89_Q_L9~~C!~t~~ ~_y~~~~!__Vi!I~~~~~ ~A1~Q~~ _
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RELATED CASE, IF ANY:
Case Number: _______________ .                                       Judge: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                    Date Terminated. __________ _

Civil cases are deemed related when Yes is answered to any of the following questions.

1.     ls this case related to property included m an earlier numbered smt pendmg or within one year                              YesD
       previously terminated action in this court 9

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                          YesD                   No[ZJ
       pendmg or within one year previously terminated action m this court?

3      Does this case involve the vahdity or infnngement of a patent already in smt or any ear her                                YesO                   No[{]
       numbered case pendmg or withm one year previously terminated action ofth1s court?

4      ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights
       case filed by the same md1v1dual?
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I certify that, to my knowledge, the withm case
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CIVIL: (Place a "If in one category only)

A.              Federal Question Cases:                                                       B.    Divernty Jurisdiction Cases:

D               Indemnity Contract, Marine Contract, and All Other Contracts                  D     t.    Insurance Contract and Other Contracts
D               FELA                                                                          D     2.    AITplane Personal Injury
D               Jones Act-Personal Injury                                                     D     3.    Assault, Defamation
0               Antitrust                                                                     D 4         Marme Personal Injury
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B               Patent
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                Civil Rights
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                Habeas Corpus                                                                 D s         Products Liability - Asbestos
                Securities Act(s) Cases                                                       D     9     All other Diversity Cases
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                                                                               ARBITRA TIO~ CERTIFICATION
                                                     (I'he effect ofthzs certification 1s to remove the case from e/zgtb1llty for arbitration)

I.          -      -   J~~ ~ F: "'!..._<=!rd- --- _,counsel of record or pro se plamtiff, do hereby certify
                Pursuant to Local ClVll Rule 53 2, § 3(c) (2), that to the best of my knowledge and behef, the damages recoverable in this civil action case
                exceed the sum of $150,000.00 exclusive of mterest and costs.

                Relief other than monetary damages is sought.
                                                                                                                                                    OCT 16 2018
DATE      _9~~o_b_e!J 7,_~Q_1 !3 -- -.                                                                                                             81350
                                                                            Attorney-at-Law I Pro Se Plaintiff                               Attorney ID # (if applicable)

NOTE A tnal de novo will be a tnal by Jury only 1f there has been comphance with F RC P 38

Ctv 609 (l/2018)
            Case 2:18-cv-04451-WB Document 1 Filed 10/16/18 Page 10 of 10
                          IN THE UNITED ST ATES DISTRICT COt;RT
                      FOR THE EASTERN. DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM

OWEN HARTY                                             CIVIL ACTION
                                                       NO.
                       V.

VILLANOVA UNIVERSITY P.'-J THE STATE                                       18          4451
OF PENNSYLVANIA

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a Case Management Track Designation Form specifying the track to which
that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                     ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.         ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                              ( )
(e) Special Ylanagement ·Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.


October 15, 2018                              F ~                       Plaintiff, Owen Harty

Date                                                                      Attorney for


(610) 952-0219                  (954) 237-1990                         johnfward@gmail.com

Telephone                           FAX Number                            E-Mail Address


(Civ. 660) 10/02




                                                                                         OCT 16 201a
